                                         January 10, 2023


Hon. Leslie E. Kobayashi
United States District Court
District of Hawaii
300 Ala Moana Blvd C-338
Honolulu, HI 96850

               RE:     United States of America vs. Nickie Mali Lum Davis;
                       C.R. No. 20-00068 LEK (USDC Hawaii)

Dear Honorable Judge Leslie E. Kobayashi:

        I am writing this statement to you because my anxiety is high, and I do not know whether
I will have a chance to say these things in the court room on January 18th. I know others have
submitted letters to you, but I wanted to also write to you.

        It would be no exaggeration to say that my daughter S is the most important thing and
most blessed thing that I have in my life. To be blessed with S later in life (I was 38) and after
several failed pregnancies, I truly feel she is a gift from God. My life completely changed when
I had her. Prior to S (according to my doctor), I was working too much and thus had been unable
to successfully have a child. So, when I found out I was pregnant with S, I did not do anything
that could jeopardize her birth. According to eastern medicine and tradition, I was told not to
work out, not to climb stairs, not to wear high heels, not to carry anything heavy -- and I listened
this time because I hadn’t in the past and had not succeeded. If they had told me to eat
cardboard, I probably would have done that too. Every night, literally, I prayed that she would
simply be born healthy. When S was finally born on December 7, 2013, I just asked, “Is she ok?
Is she healthy?” Then I told my husband, “Don’t leave her for one minute. Be with her and the
nurse every second,” before they carted me off to another room as I had gone into hypothermia
and my heart rate was soaring. Given my age and difficulty in the pregnancy and birth, I never
had more than one child and it is okay with me because she is the sun, the moon and the stars to
me. We are best friends. She just turned 9 last month and is in the 3rd grade now, but we still
sleep together every night. Like me, she enjoys singing, making videos, and acting in theater.
Like me, her favorite subjects are reading and writing – science and math are a little difficult. I
work with her on math a lot as since COVID, it has been a particular challenge for her.

        I know Larry loves S, and she adores her dad, but he suffers from alcoholism and it’s a
disease that comes and goes but never goes away. Exactly at the time that I traveled to Bangkok
in 2017 with Elliott Broidy and Pras Michel, I had kicked Larry out of the house, called the
police because of a fight that became physical toward me and my then 80-year-old Dad, and got
a restraining order to protect me, S, and my parents. I did the meeting with them in Bangkok and
got on the first flight back to Hawaii – not even spending one night away as I was worried about
S. Larry was separated from us for over a month – living at a friend’s house and attending AA
meetings. We did not speak as I had the restraining order in place. Through friends, I learned
that he had not drank and was religiously attending AA meetings – something I had asked him to
do many times before. Through friends, he vowed he gave up drinking for good and just wanted


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another chance to be a family again. I spent a lot of time in prayer and made the choice to give
him another chance so that S could have her father back in her life since he promised to stay
sober and do anger management and counseling. For over 12 months, Larry did not drink at all
and it was great, but I have learned alcoholism is a disease and while some weeks he is great and
committed to never drinking alcohol again, there are other weeks when S and I try to just stay out
of his way as much as possible to avoid getting into confrontations and fights. When Larry is
healthy and sober, he is great with S, but the times when he succumbs to alcohol, he can be
belligerent, irresponsible, and unpredictable. My biggest worry about being incarcerated in any
capacity is being separated from S. I do not know if she could make it. I am mom and dad many
times. I make sure to drive her whenever Larry has alcohol. I am involved in her school and on
campus as much as I can be. I know some may criticize me for staying in such a situation, but I
made the decision to try to keep the family together.

        Earning an income has been difficult since the start of this public Criminal Case. Doors
have been closed and deals have been cancelled. Despite that, by the grace of God, I have
managed to juggle things and work out payment plans with the IRS that I have never been late on
even through a pandemic. My degree in economics as well as my experience working in the
money management world has been invaluable these past years as I have been able to trade
stocks to support the family and also rent out our Hawaii home for additional income. I am in
the midst of hopefully getting a new project that will provide weekly income for at least the next
year. I am marketing our home in Hawaii to a real estate investor friend in Los Angeles and we
are in the final stages of negotiating his purchase of the house which will pay off almost all of
our debts. I am the main breadwinner in our family, and I never thought I would be in a situation
like I am now – very scared whether or not I will be able to continue to stay by S’s side as she
goes through these formative years and finding the ways to financially support my family.

        My greatest anxiety is that the government’s sentencing recommendation, if followed,
would not only ruin my life, but S’s and my family’s as well. I do not believe I would be ever
able to recover my business, and certainly would not be able to develop a payment plan to cover
the payments I am required to make under the plea agreement. It really is a financial death
sentence for me and my family. I have NEVER had a criminal record. I don’t do drugs. I hardly
even drink alcohol. I think the presentencing supervision officers will tell you that I diligently
try to make sure that I comply with everything they ask for promptly. If you would consider
please to let me serve out my punishment with probation, I will be so grateful and will have the
opportunity to fulfill my financial obligations. I know I have forever hurt my family and my life
with this felony, but I hope you will consider letting me prove to you that I have learned my
lesson and I will do all I can to not only fulfill my obligations but also to contribute to society to
help girls and women and minorities get ahead.

        I regret ever getting involved in this situation. Depending on what newspaper you read, I
am a Democratic fundraiser or a Republican fundraiser– the truth is, I am neither. I always
believed you should just vote and support the person you think is best for the job rather than a
Party. Coming from the entertainment industry with perhaps a too wild imagination, I thought I
could really do something great for the country by bringing home three American hostages;
instead, I was painted as an agent of China. The strange thing is that I never had the relationship
with the official of China – Pras did; and then it was Elliott (not me) who met with the official
when he came to America. Perhaps because I am part Asian
(Japanese/Korean/Chinese/Hawaiian) and clearly look Asian, it’s me who has been painted as the



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Chinese agent. Never in my wildest dreams did I ever think this could happen. I have always
considered myself a true American patriot.

       As you know, I have shamed myself, my daughter, and my family. My parents did
everything to ensure I went to a good school and had the tools to succeed and be an esteemed
member of society. I failed myself, my daughter, and my parents. I have put my daughter and
my family in a very bad position because of my actions.

           Thank you for taking the time to listen to me.

                                                    Respectfully,




                                                    Nickie Lum Davis




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